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 7   Attorneys for Defendant
     CLARK CONSTRUCTION GROUP-CALIFORNIA, INC.
 8

 9                                UNITED STATES DISTRICT COURT
10                           NORTHERN DISTRICT OF CALIFORNIA
11

12   LAWRENCE HALEY, as an individual,            Case No. 4:18-cv-07542-HSG

13                   Plaintiff,                   DECLARATION OF LYNNE C.
                                                  HERMLE IN SUPPORT OF
14         v.                                     DEFENDANT CLARK
                                                  CONSTRUCTION GROUP-
15   CLARK CONSTRUCTION GROUP-                    CALIFORNIA, INC.’S MOTION TO
     CALIFORNIA, INC., a corporation; DOES 1-     COMPEL INDEPENDENT MENTAL
16   100,                                         EXAMINATION OF PLAINTIFF

17                   Defendants.                  Date: December 5, 2019
                                                  Time: 2:00 p.m.
18                                                Dept: Courtroom 2, 4th Fl.
                                                  Judge: Hon. Haywood S. Gilliam, Jr.
19
20

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28
                                                         DECLARATION OF LYNNE HERMLE ISO MOTION
                                                                  TO COMPEL INDEPENDENT MENTAL
                                                                        EXAMINATION OF PLAINTIFF
                                                                     [CASE NO. 4:18-CV-07542-HSG]
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 1          I, Lynne C. Hermle, hereby declare:

 2          1.      I am a member of the State Bar of California and a partner in the law firm of

 3   Orrick, Herrington & Sutcliffe LLP, counsel of record for Defendant Clark Construction Group-

 4   California, Inc. (“Clark”) in this action. I am lead trial counsel for defense. I make this

 5   declaration in support of Clark’s Motion to Compel an Independent Mental Examination (“IME”)

 6   of Plaintiff Lawrence Haley. I know the facts set forth in this declaration to be true of my own

 7   personal knowledge and on information and belief based on the medical records subpoenaed from

 8   Plaintiff’s medical treaters and identified below. If called as a witness, I could and would testify

 9   competently to the matters set forth in this declaration.
10          2.      On or about October 24, 2018, Plaintiff Lawrence Haley filed a Complaint in the

11   San Francisco Superior Court against Clark. On December 14, 2018, Clark removed the action to

12   this Court. Attached as Exhibit A is a true and correct copy of Plaintiff’s Complaint included

13   with Clark’s removal filing.

14          3.      On July 12, 2019, my office emailed Plaintiff’s counsel that Clark intended to seek

15   an independent mental examination of Plaintiff through a psychiatric expert and asked if Plaintiff

16   would stipulate to such an examination. On July 15, 2019, after not receiving a response, my

17   office sent a follow-up email to Plaintiff’s counsel to discuss the issue at the parties’ in-person

18   meet and confer the following day. Attached as Exhibit B are the emails my office sent in

19   advance of the meeting, to lay out the issues.
20          4.      My colleague Megan Lawson and I met in-person with Plaintiff’s counsel Lateef

21   Gray and Ann Kariuki on July 16, 2019 regarding various discovery conflicts, including this

22   motion. In that meeting, Mr. Gray and Ms. Kariuki stated that Plaintiff would stipulate to the IME

23   and we agreed that my office would propose dates to conduct the examination. That evening, Ms.

24   Lawson proposed three dates in August that the psychiatric expert was available to conduct the

25   examination and requested that Plaintiff respond by the next day.

26          5.      On the evening of July 17, 2019, Ms. Lawson sent a follow-up email to Ms.

27   Kariuki to confirm the date for Mr. Haley’s IME. However, Ms. Kariuki stated that she was

28
                                                                    DECLARATION OF LYNNE HERMLE ISO MOTION
                                                                             TO COMPEL INDEPENDENT MENTAL
                                                      -1-                          EXAMINATION OF PLAINTIFF
                                                                                [CASE NO. 4:18-CV-07542-HSG]
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 1   unable to get confirmation of the dates and that she “may also have comments on the proposed

 2   scope of the IME.” This morning, I responded to Ms. Kariuki that Clark intended to file a motion

 3   seeking to compel the IME if the parties did not reach agreement today, including that the IME

 4   would be conducted according to standard terms consistently accepted by the courts. I also

 5   specifically requested that Ms. Kariuki provide a time today if there was anything she would like

 6   to discuss. Attached as Exhibit C is a true and correct copy of the email exchanges with Ms.

 7   Kariuki. As of the time of this filing, we’ve received no response from Plaintiff’s Counsel

 8   regarding the IME. Accordingly, Clark makes this motion.

 9          6.      Plaintiff identified multiple treaters for emotional distress in his disclosures in this
10   matter: Tracy C. Smith, Psyd, Molly Patricia Keegan, MD, and Dennis Masaru Nakamura, MD,

11   all of Kaiser Permanente; and Dr. Phillip McFarland of Disability Counseling Services Inc.

12   Attached as Exhibit D is a true and correct copy of Plaintiff’s supplemental disclosures

13   identifying multiple treaters. My office served subpoenas on the offices of those treaters and I

14   have reviewed those records. In addition, my office subpoenaed the depositions of Drs. Smith,

15   Keegan and Nakamura of Kaiser, and Drs. McFarland and Robert Arguelles of Disability

16   Counseling Services for dates before the fact discovery cutoff in this matter.

17          7.      Dr. Smith treated Plaintiff for well over a year, beginning one month after the

18   incidents Plaintiff alleges caused him severe emotional distress (from November 2017 through

19   February of 2019). The Kaiser records show that, on or about November 1, 2017, in advance of
20   Dr. Smith’s first appointment with Plaintiff, her office administered to Plaintiff a questionnaire

21   labelled a PHQ-9 regarding his emotional state over the last two weeks. In addition, Plaintiff

22   testified that he went to the emergency room and was treated soon after an incident alleged in his

23   Complaint. Attached as Exhibit E is a true and correct copy of the subpoena served on Kaiser

24   Permanente and attached as Exhibit F are excerpts of Plaintiff’s medical records received in

25   response to the subpoena.

26          8.       As his answers to the questionnaire in Exhibit F show, Plaintiff responded to

27   inquiries about “problems”, which asked about whether he had symptoms such as “little interest

28
                                                                    DECLARATION OF LYNNE HERMLE ISO MOTION
                                                                             TO COMPEL INDEPENDENT MENTAL
                                                      -2-                          EXAMINATION OF PLAINTIFF
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 1   or pleasure in doing things;” “Feeling down depressed or hopeless”; “Trouble falling or staying

 2   asleep or sleeping too much” as well as multiple other inquiries about his appetite, concentration,

 3   movement, and other symptoms of distress by stating that he experienced the vast majority of

 4   these problems “nearly every day.” Plaintiff denied suicidal intent and identified feeling

 5   depressed as occurring on “more than half of the days.” See Ex. F at p.14. According to what I

 6   am informed and believed to be the depression scoring for these answers, as identified in Exhibit

 7   G attached hereto, Plaintiff’s self-identified total score of 35 identifies him as having “severe

 8   depression” which “Warrants treatment for depression, using antidepressant, psychotherapy

 9   and/or a combination of treatment.” See Ex. G at p.2 (“interpreting PHQ-9 scores”).
10              9.     Plaintiff’s Kaiser file includes a second such PHQ-9 survey, dated November 7,

11   2017, which has an even higher score because Plaintiff identified “feeling down depressed or

12   hopeless” as now occurring “nearly every day.” See Ex. F at p.21. The file also shows that

13   Plaintiff was diagnosed by Dr. Smith as suffering from PTSD and Anxiety Disorder, that he

14   participated in group therapy, including in “Job Stress” and “Seeking Safety” groups. See Ex. F

15   at p.10.

16              10.    Plaintiff’s file with Disability Counseling Services contains records of individual

17   therapy sessions with different treaters beginning in November 2017 and continuing through

18   January of 2019. Attached as Exhibit H is a true and correct copy of the subpoena served on

19   Disability Counseling Services and attached as Exhibit I are excerpts of Plaintiff’s medical
20   records received in response to the subpoena. The files include diagnoses of “Major Depression

21   and anxiety,” as well as the statement that Plaintiff was “Advised to see MD to get anti-anxiety

22   medication.”

23              I declare under penalty of perjury under the laws of the United States of America that the

24   foregoing is true and correct and that this declaration is executed on July 18, 2019.

25

26                                                                   /s/ Lynne C. Hermle
                                                                         Lynne C. Hermle
27

28
                                                                     DECLARATION OF LYNNE HERMLE ISO MOTION
                                                                              TO COMPEL INDEPENDENT MENTAL
                                                       -3-                          EXAMINATION OF PLAINTIFF
                                                                                 [CASE NO. 4:18-CV-07542-HSG]
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  EXHIBIT A
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                                           SUMMONS                                                                      FOR COURT USE ONLY
                                                                                                                     (SOLO PARA tISO OE LA CORTEJ
                  (CITACION JUDICIAL)
NOTICE TO DEFENDANT:
(AVISO AL DEMANDADO):
CLARK CONSTRUCTION GROUP-CALIFORNIA, INC.; DOES
1-100
YOU ARE BEING SUED BY PLAINTIFF:
(LO ESTA DEMANDANDO EL DEMANDANTE):
LAWRENCE HALEY


 NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the Information
 below.
     You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
 served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
 case. There may be a court form that you can use for your response. You can find these court forms and mere Information at the California Courts
  Online SeltHelp Center (wonv.coudinfo.ca.goviselthelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
  the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by defmdt, and your wages, money, and property
 may be taken without further warning from the court.
     There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
 referral service. If you cannot afford an attorney, you may be eligible for free legal services farm a textural legal services program. You can locate
  these nonprofit groups at the California Legal Services Web site (www.lawhelpcafifomirscug), the California Courts Online Self+telp Center
 (www.courtinfo.ca.govlseffnelp), or by contacting your local court or county bar association. NO        The court has a statutory lien for waived fees and
  Costs on any settlement or arbitration award of $10,000 or more In a civil case. The court's lien must be paid before the court will dismiss the case.
 'AVISOf Lo hen demanded. SI no responde denim de 30 dlas, la code puede decidir on su contra stn escucharsu versiOn. Lea la infonneclon a
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    Irene 30 DIAS DE CALENDARIO cisspues de que le entleguen este citacion y papeles legates pare presenter una respuesta par escrifo en este
 code y hater quo se entregue tom meta al domandante. Una carte o una llamado telefenta no io protegen. Su respuesta per escrftr, tiene qua ester
 en formate legal correct° si *sea que pracesen su case en la code. Es ',risible qua haya un formularto que usted puede user pare su respuesta.
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    Hay afros requisites legates. Es recomendable que flame a un abogado Inrnediatamente. SI no conoce a un abogado, puede Hamar a un servicla de
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 (tenvw.lawhelpcalifomfa.org). en el Centro de Ayuda de las Cartes de California. (senvw.sucorte.ca.gov) a poniandose en contact° con le code o el
 colegb de abogados locales. AV/SO: Polley, la code Ilene derecho a reclamar fas cuotas y los costos oxen= per imponer un gravamen sabre
 cualquter recuperation de 510,000 d mks de valor rectbkta mediante un acuerdo o une concesidn de arbitraje en un cast, de derecho tilt. 77ene quo
 pager el gravamen de la carte antes de que la code puede desechar elcaso.
The name and address of the court is:
(El nombra y direction de la code es):        San Francisco Superior Court
                                                                                                          EV-18-57085i
400 McAllister Street
San Francisco, CA 94102-4514
The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is:
(El nombre, la diroccidn y el namero do Wetly del abogado dal domandante, o del domandante qua no bane abogado, es):
John L. Burris, Law Offices of John L. Burris; 7677 Oakport Street, Suite 1120, Oakland, California 94621

DATE:
              0            C T 2 4 aa'w
                                   OF THE                      COURT  Clerk, by                                                                     , Deputy
(Podia)                                                               (Secretario)                   MEREDITH GRIE                                      j nto)
(For proof of service of this summons, use Proof of Service of Summons (form P0S-010).)
(Para prueba de entrega de este citation use el forrnulario Proof of Service of Summons, (POS-010)).
                                  NOTICE TO THE PERSON SERVED: You are served
 PEAL)
                                  1. 1  I as an individual defendant
                                  2. I  I as the person sued under the fictitious name of (specify):


                                      3.      I   on behalf of (specify): Clark Construction Group-California, Inc.

                                           under. I l I CCP 416.10 (corporation)                ri                 CCP 416.60 (minor)
                                                  ni    CCP 416.20 (defunct corporation)        I              I   CCP 416.70 (conservatee)
                                                        CCP 416.40 (association or partnership)           [- I     CCP 416.90 (authorized person)
                                                          ether (specif)1:
                                      4. I=       by personal delivery on (date)'         t    Li(1                                                    Pepe t M1
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 1   JOHN L. BURRIS, ESQ., SBN 69888
     ADANTE D. POINTER, ESQ., SBN 236229                                     NDOP '
 2
     LATEEF H. GRAY, ESQ., SBN 250055                                   Suporior Cairn o C&i ()min
     LAW OFFICES OF JOHN L. BURRIS                                       County o! ar. Fr7-ncisco
 3
     Airport Corporate Center                                                OCT 2 4 2018
 4   7677 Oakport St.. Suite 1120
     Oakland. CA 94621                                               CLERK Or i nc UOURT
 5   Telephone:      (510) 839-5200                                BY:  MEREDITH GRIER
                                                                                            Deputy Clerk
     Facsimile:      (510) 839-3882
            john.htin-isRiohnbiarrislaw,com
     Email: adante.pointergjohnburrislaw.com
 7
     Email: lateef. gray@johnburrislaw.com
 8

 9   Attorneys for Plaintiff

10
                                SUPERIOR COURT OF CALIFORNIA
11

                               FOR THE COUNTY OF SAN FRANCISCO
12

13
     LAWRENCE HALEY; as an individual.                Case CGC —18 —                   0 8 51
14

15                                 Plaintiff.         COMPLAINT FOR DAMAGES
16
                    v.                               I. UNLAWFUL DISCRIMINATION
17                                                   2. RETALIATION
                                                     3. HARASSMENT
18   CLARK CONSTRUCTION GROUP-                       4. DISCRIMINATION
     CALIFORNIA. INC... a corporation: DOES 1-       5. VIOLATION. OF GOVT. CODE
19   100,
                                                        SECTION 12940(h)
20                                                   6. NEGLIGENCE
                                   Defendants.       7. INTENTIONAL INFLICTION OF
21                                                      EMOTIONAL DISTRESS
                                                     8. WRONGFUL CONSTRUCTIVE
22                                                      DISCHARGE
23
                                      SUMMARY OF CLAIMS
24
        1. This is an action for damages by Plaintiff against Clark Construction Group-California,
25

26
                                                 1
                                       COMPLAINT FOR DAMAGES
                    Case 3:18-cv-07542-HSG
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bra




      1    Inc. for a pattern of tortious conduct. involving multiple violations of the Title VI of the Civil
       2
           Riuhts Act of 1964. the Unruh Cix it Rights Act. and the Equal Protection Clause based on
       3
           harassment and discrimination on the basis of race and the intentional infliction of emotional
      4
           distress. Plaintiff seeks compensatory damages. including general damages for mental and
       5
           emotional distress. punitive damages and statutory attorney's fees.
       6
                                                         PARTIES
      7
              2. Plaintiff LAWRENCE HALEY ("Plaintiff 1 laley- ) is an African American mule residing
       8
           in the State of California and was an employee of CLARK CONSTRUCTION GROUP-
       9
           CALIFORNIA. INC.. in the City and County of San Francisco, California.
      10      3. Plaintiff is informed and believes and thereon alleges that at all relevant times. Defendant
      11   CLARK CONSTRUCTION GR.OUP-CALIFORNIA, INC. ("CLARK"). is a California

      12
           Corporation licensed to do business by virtue of the laws of the State of Cali fornia and operating
           and engaging in business in the City and County of San Francisco. California.
      i3
              4. Plaintiff is unaware of the true names and capacities of yet-to-be-identified individuals
      14
           sued herein as DOE Defendants. Plaintiff therefore, sues these defendants by these fictitious
      15
           names and identify them as "yet-to-be-identified Defendant Clark- employees. Plaintiff is
      16   informed and believes and thereon alleges that each of these fictitiously named defendants are
      17   responsible in some manner for the acts. omissions and occurrences herein alleged and that
           Plaintiff's losses as herein alleged were proximately caused by such acts. omissions and
      18
           occurrences. Plaintiff will amend this Complaint to allege the true names and capacities of these
      19
           fictitiously named defendants when ascertained.
      20
               5.    Plaintiff is informed and believe and thereon alleges that at all material times. DOES 1
      21   through 50. inclusive, control Defendant CLARK and exercise substantial authority in devising
      22   and implementing personnel policies at Defendant CLARK. Any reference to Defendant

      23   CI.ARK in this Complaint includes DOES 1 through 50. inclusive, as well.
               G. Plaintiff is informed and believes and thereon alleges that at all material times. DOES 51
      24
           through 100. inclusive. here Plaintitrs direct supervisors with supervisory authority over
      25
           Plaintiff. including. but not limited to, the responsibility to direct Plaintiffs daily work activities
      26
                                                           2
                                                COMPLAINT FOR DAMAGES
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1    and to make other employment actions affecting Plaintiff. such as the decisions to hire and/or fir.
     promote. reward or discipline Plaintiff. On information and belief. DOES 51 through 100.

3
     inclusive. are California residents. In doing the acts complained of herein. such DOE defendants
     acted individually and as agents of Defendants CLARK and DOES 1 through 50. and as such.
4
     Defendants CLARK and DOES 1 through 50 are liable fir the acts oldiscrimination. harassment
 5
     and retaliation of DOES 51 through 100. inclusive. Defendants ill ARK and DOES I through
6    50 were negligent and/or reckless in that they knew or should have known about DOES 51
 7   through 100's acts of and propensity to commit acts of discrimination. harassment and retaliation

8    and failed to take immediate and appropriate corrective action.
         7. At all relevant times. defendants acted by and through their officers. agents and
 9
     employees, including the defendants fictitiously named herein. each of whom. was acting within
10
     the purpose and scope of his or her agency or employment and whose acts. omissions and
11
     conduct alleged herein were known to. authorized by and ratified by defendants.
12       8. At all relevant times, defendants, and each of them. including the defendants fictitiously
13   named herein, acted as the agents of one another in the acts. omissions and occurrences herein

14
     alleged.
         9. The acts. omissions, conduct, contracts, promises and violations of the law herein alleged
15
     were done. made. performed or to he performed insubstantial part in the City and County of San
16
     Francisco, State 01-California.
17                                           FACTUAL BACKGROUND
18       10. On or about September 2017. Plaintiff Haley began working as a journeyman plumber

19   at Defendant CLARK's construction site located at 150 Van Ness Avenue, San Francisco, CA.
         11. Within weeks of beginning employment. Plaintiff Haley began noticing, in plain view.
20
     racially charged writings and drawings in multiple restrooms. These horrifying threats read. "we
21
     are going to kill all the niggers." "stupid niggers." "dumb ['lagers,- - Nazi,- 'swastikas.- Plaintiff
22
     immediately complained to his superiors at Defendant CI .ARK. Nvho made no attempt to remove
23   the inflammatory racial slurs depicted in its restrooms.
24       12. On October 3. 2017. Plaintiff walked into one of the restrooms. only to find a pile of

25
     feces laying on the floor below all of the profanities and threats mentioned above. Plaintiff once
     again immediately complained to Defendant Clark about the unbearable bathroom conditions.
26
                                                           3
                                                 COMPLAINT FOR DANIA OF,S
                              Case
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                    1    This time, a yet-to-be-identified Defendant CLARK supervisor had the impertinence to simply
                         suggest to Plaintiff to - put your safety glasses on.   Defendant CLARK never made any eflims
                         to clean either the feces or the writing found in the restroom.
                             13. On October 4. 2017. after eatine. lunch, Plaintiff made his way to use the restroom before
                    4
                         resuming his shift. While washing his hands. Plaintiff pressed down on the soap dispenser and
                    5
                         was immediately lathered with feces all over his hands. as the soap dispenser had been filled
                    6    with feces. Plaintiff' was immediately overcome with fear. stress. 12riefand arts-lc:iv. Plaintiff
                    7    began shaking. as he realized that he had open wounds on his hands that could possibly be
                    8    contaminated by the feces being on his hands. Plaintiff immediately went to a yet-to-be-

                    a
                         identified Defendant CLARK supervisor. who did nothing more than point him to the main
                         office across the street.
                   10
                             14. Upon running to Defendant CLARK's office, located across the street from the
                   11
                         construction site_ and asking to speak with another supervisor. Plaintiff was simply turned away.
                   12    Instead of inquiring into how to aid Plaintiff during such a stressful and emotionally detrimental
                   13    situation, a yet-to-he-identified Defendant CLARK supervisor aggressively fitreed Plaintiff to

                   14
                         return back to the job site, doing nothing more than citing "procedures" that needed to he "taken
                         care of before he could leave the job site. Absolutely no remedial measures were ever taken by
                   15
                         Defendant CLARK. In fact. quite the opposite occurred, forcing Plaintiff to seek medical
                   16
                         attention on his own later that evening.
                   17        15. On October 5. 2017. Plaintiff. who was still emotionally distraught by the traumatizing
                   18    events, was unable to attend work.

                   19        16. On October 6.2017. Plaintiff notified a Defendant CLARK supervisor that he was not
                         going to coming into work due to a scheduled medical appointment pertaining to the feces
                   20
                         incident. Plaintiff furthered expressed his concern to the Defendant CLARK. supervisor about
                   21
                         potential treatment by his colleagues. as well as the mental anguish he was battling. This
                   22
                         Defendant CLARK supervisor dismissed Plaintiff's concerns and threatened to terminate
                   23    Plaintiffs employment by replying. "Really'? What else can a doctor do? We are all grown men.
                   24    you need to get over this. If you cant let me know. I will let you go.   It's a   little embarrassing but

                   25
                         we are all grown
                             17. On October 9, 2017. Plaintiff begrudgingly returned to work. Throughout the day he was
                   7.6
                                                                        4
                                                              COMPLAINT FOR. DAMACi
                                        Case
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                           1    ridiculed and belittled as colleagues reminded him he had "shit on his hands.- Several
                            2   colleagues expressed their reluctance to having contact with Plaintiff and refused to shake his

                            3
                                hand.
                                    18. To date. Plaintiffstill suffers from severe emotional distress. as he has continuously
                            4
                                suffered from nightmares and has had to seek recurring medical treatment. Additionally.
                           S
                                Plaintiff was constructively discharged. as he has been on disability since the incidents
                                                              FIRST CAUSE OF ACTION
                                           UNLAWFUL DISCRIMINATION UNDER CIVIL CODE SECTION 51
                            7
                                               (By Plaintiff Against Defendants Clark and DOES 1-100)
                           8
                                    19. Plaintiff incorporates by reference the allegations contained in the Paragraphs above as
                           9
                                though fully set forth herein.
                           10
                                    20. Under the Unruh Civil Rights Act. all persons are entitled to full and equal
                           11

                           12
                                accommodations, advantages. lbeilities. privileges, or services in all business establishments,

                           13   including both private and public entities. The Unruh Civil Rights Act protects all persons agains

                           14   arbitrary and unreasonable discrimination by a business establishment (Civil Code section 51).
                           15       21. Defendant CLARK is considered a business establishment in the State of California and
                           16
                                is therefore subject to the requirements and restriction of the Unruh Civil Rights Act.
                           17
                                    22. Defendant CLARK. by and through its agents. yet-to-be-identified Defendants. deprived
                           18
                                Plaintiff or the equal accommodations. advantages. and privileges afforded to his non-African-
                           19
                                American colleagues at the 150 Van Ness Avenue, San Francisco. CA. Defendant CLARK
                           20

                           21   construction site.

                           22       21. As a proximate result of Defendants'            NOM!. knovvina   and intentional discrimination

                           23   against Plaintiff. he has sustained and continues to sustain substantial losses in wages.
                           24
                                    24. As a proximate result of Defendants' willful, knowing and intentional discrimination
                           25

                           26
                                                                                           5
                                                                               CON1P1.A1NT FOR DAMAGES
           Case
           Case 4:18-cv-07542-HSG
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1    against Plaintiff. he has stiffered and continues to suffer humiliation. emotional distress. and

     physical and mental pain and anguish. all to his damage.
 3
         25. Defendant CLARK has committed the acts herein alleged maliciously and oppressively.
4
     with the wrongful intention of injuring Plaintiff. with an improper and intentional motive
 5
     amounting to malice and in conscious disregard of PlaintilVs rights.
 6
         26. Plaintiff has incurred and continues to incur legal expenses and uttomey's fees.
 7

S            Wherefore. Plaintiffprays for . udgment as set forth below.

                                        SECOND CAUSE OF ACTION
                               RETALIATION IN VIOLATION OF TITLE VI
10                         (By Plaintiff Against Defendants Clark and DOES 1-100)
11
         27. Plaintiff incorporates by reference the allegations contained in the Paragraphs above as
12
     though fully set forth herein.
13
         28. Title VI regulations provide that "[filo recipient or other person shall intimidate. threaten.
14
     coerce. or discriminate against any individual for the purpose of interfering with any right or
15

16
     privilege secured by (Title VII. or because he has made' a complaint. testified, assisted. or

17   participated in any manner in an investigation. proceeding or hearing under this subpart." 28

18   C.F.R § 42.108(e) (Department of Justice Regulation).

19       29. Not only did Defendants engage in harassing and discriminatory conduct towards
20
     Plaintiff. hut after Defendant learned that Plaintiff was consistently reporting the harassment and
21
     discrimination he. was experiencing to his supervisors. Defendants began retaliating against
22
     Plaintiff a.s well.
23
         30. The above-described actions constitute retaliation pursuant to Title VI of       Civil Rights
24

25
     Act of 1964.

26       31. As a proximate result of Defendants' willful. knowing and intentional discrimination
                                                    6
                                          COMPLAINT FOR 'DAMAO F.S
                               Case
                               Case 4:18-cv-07542-HSG
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                    1    against Plaintiff. he has sustained and continues to sustain substantial losses in   wages.


                     2
                             32. As a proximate result of Delendants'   NN   lin'. knowing and intentional diScrimination
                    3
                         against Plaintiff. he has suffered and continues to sutler humiliation. emotional distress. and
                    4
                         physical and mental pain and anguish, all to his damage.
                    5
                             33. Defendant CLARK has committed the acts herein alleged maliciously and oppressively.
                    6
                         with the wrongful intention of injuring Plaintiff. with an improper and intentional motive
                     7

                    8    amounting to malice and in conscious disregard of Plaintitis rights. Accordingly. Plaintiff

                    9    requests punitive damages against Defendant CLARK.

                    10       34: Plaintiff has incurred and continues to incur legal expenses and attorney's fees,
                    11
                             Wherefore, Piaintiffprays for judgment us set forth below.
                    12
                                                          THIRD CAUSE OF ACTION
                    13                            HARASSMENT IN VIOLATION OF FEHA
                                            (By Plaintiff Against Defendants Clark and DOES 1-100)
                    14
                             .15. Plaintiff incorporates herein by reference the allegations contained in the Paragraphs
                    15
                         above as though fully set forth herein,
                    16

                    17       36. Plaintiff was at all relevant times herein an employee of Defendant CLARK covered by

                    18   California Government Code section 12900 et Saj. prohibiting harassment in employment on the

                    19   basis of race•and protected activities and requiring Dell-_ndant CLARK to take all reasonable
                    20
                         steps to prevent discrimination. harassment and retaliation.
                    21
                             37. Such defendants were and are at all times material hereto employers within the meaning
                    22
                         of California Government Code section 12900 el seq.
                    23
                             38. Plaintiff is. and at all relevant times herein, was an African American male.
                    24

                    25
                             39. Such Defendants engaged in the following actions with the intent of harassing Plaintiff

                    26
                                                                        7
                                                             COMPLAINT FOR DAMAGES
         Case 3:18-cv-07542-HSG
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1 on account of his race: harassed Plaintiff by treating him dilThrently than non-African American
 2   emplo)ees: retaliated against Plaintiff lbr complaining about harassment and discrimination and

     engaging in protected activities. The incidents created a hostile work environment.
 4
        40. Such defendants knew or should has known of these harassing actions because Plaintiff
 5
     reported them to such defendants and many of these harassing actions were open and obvious.
 6
     Despite such defendants' actual and constructive knowledge oldie above-described harassment.
 7

 a such defendants failed to take immediate and appropriate corrective action to stop the harassment
 9   Furthermore, before the harassment occurred. such defendants failed to tale all reasonable steps

10   to prevent such harassment from occurring.
11
        41. The acts of defendants, and each of them. as described above. constitute a pattern and
12
     continuous course of harassment on the basis of race in violation of California Government Code
13
     section 12900 et seq.
14
        42. The race-based harassment of Plaintiff by Defendants created an oppressive, hostile,
15

16
     intimidating and offensive work environment 11.1r Plaintiff and interfered with Plaintiff's

17   emotional well being and ability to perform Plaintiff's duties. The race-based harassment was

18   sufficiently -severe and pervasive as to materially alter Plaintiff's conditions of employment and
19   to create an abusive working environment.
20
        43. Within one year of the date of the harassment herein alleged. Plaintiff filed a charge of
21
     discrimination with the California Department of Fair Employment and I lousing. The California
22
     Department of Fair Employment and l ousing issued Notices. of Case Closure (Right to Sue
23
     Letter). Plaintiff has exhaustettall of Plaintiff's administrative remedies.
24

25          Wherefore. Plaintiff prays for judgment as set forth below.

26
                                                   8
                                         COMPLAINT FOR DAMACiES
            Case 3:18-cv-07542-HSG
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                                      FOURTH CAUSE OF ACTION
                             DISCRIMINATION IN 'VIOLATION OF FE-II,.
  2
                         (By Plaintiff Against Defendants Clark and DOES 1-100)
 3
          44. Plaintiff incorporates herein by reference the allegations contained in the Paragraphs
 4
       above as though fully set forth herein.
 5
          45. By the acts and omission alleged herein. Defendants discriminated against Plaintiff on
 6
       the basis of race in violation of Caliawnia Government Code section 12900 et sett
 7

 8            Wherefore. Plaintiff prays for judgment as set forth below.

 9                                      FIFTH CAUSE OF ACTION
                        VIOLATION OF GOVERNMENT CODE SECTION 12940(h)
10                        (lty Plaintiff Against Defendants Clark and DOES 1-100)
13.
           46. Plaintiff incorporates herein by reference the allegations contained in the Paragraphs
12
       above as though fullyset forth herein.
13
           47. At all times herein mentioned. Government Code section 12940(h) was in full force and
14
       effect and was binding on defendants. This subsection provides that it is an unlawfill practice for
15
       any employer or person to discharge. expel or otherwise discriminate against any person because
16

17     the person has opposed any practices forbidden by the Fair Employment and Housing Act or

18     because the person has filed a complaint, testified or assisted in any proceeding.

19         48. After Plaintiff reported Plaintiff's allegations of harassment. Defendants retaliated
20
       against Plaintiff by either terminating Plaintiffund/or discriminating against Plaintiff.
21,
           49. By the acts and OrniSiOhS alleged herein. Defendams,violated California Government
22
       Code section 12940{h).
23
               Wherelbrc. Plainliff prays for judgment as set 140 below,
24

25
                                         SIXTH CAUSE OF ACTION
                                                NEGLIGENCE
26                        (B)• Plaintiff Against Defendants Clark and DOES 1-100)
                                                      9
' -I
                                           COMPLAINT FOR DAMAGI7.S
             Case 3:18-cv-07542-HSG
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                                                                        of 59
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      1. .



 1
             50. Plainflf incorporates herein by reference the allegations contained in the Paragraphs

 3
        above as though fully set forth herein.

 4           51 . Defendants. and each of them. owed the following duties, among others. to Plaintiff:

 5                      A. The duty to exercise reasonable care in perlbrming their functions. duties and
 6                          responsibilities as owners and operators of Defendant CLARK. including. but
 7
                            not limited to, the duty to exercise reasonable care in the ownership.
 8
                            management and operation of Defendant CLARK.
 9
                        13. The duly to exercise reasonable care in perfo.rmin2 their titnetions. duties and
10
                            responsibilities as employers of defendants DOES 1 through 100. including.
11

12                          but not limited to. the duty to exercise reasonable care in the screening, hiring.

13                          employment. training. supervision. monitoring. controlling and disciplining of

14                          such employees.
15
                        C. The duty to exercise reasonable care to protect Plaintiff from injury.
16
             52. DelendantS, and each of them, knew, or should has known with reasonable certainty. that
17
         Plaintiff would suffer monetary and emotional and physical damages as set forth herein if
18
                     and each of them, failed to perform their duties in a proper manner and fashion, as
19

20
        was the reasonable standard for each of said Defendants.

21           53. Defendants, and each of them. failed and neglected to perlbrm such functions, duties and

27.     responsibilities properly. adequately and within or above the prevailing standard of care. so that

23      Defendants. and each of them. breached their individual duties of care of Plaintiff.
24
             54. As a result of the abovccdescribed breach. Plaintiff were injured as herein alleged.
25
             55. Plaintiff is inhumed and believes and thereon alleges that the damages described below
26
                                                          10
                                             comPt.A INT vox DANIAGEs
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          Case 4:18-cv-07542-HSG Document
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                                                                     of 59
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 1    arose out of: were attributable to and are directly and proximately caused by Defendants' breach

      of such duties.
 3
             Whereihre. Plaintiff' prays for judgment as set forth below.
 4
                                      SEVENTH CAUSE OF ACTION
 5                      INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                          (By Plaintiff Against Defendants Clark and DOES 1-100)
 6
          56. Plaintiff incorporates herein by reference the allegations contained in the Paragraphs
 7

 8    above as though fully set for therein.

 9        57. California ease law allows a plaintiff:to recover damaees for intentional infliction of

10    emotional distress if he or she siiffers severe emotional injury caused by the Defendant's
11.
      outrageous conduct with the intent to cause, or with reckless disregard of the probability of
12
      causing, emotional distress.
13
          58. Plaintiff is informed and believes, and thereon alleges, that the actions of Defendants
14
      were intentional. extreme, and outrageous. Plaintiff is further informed and believes. and
15

      thereon alleges. that such actions were dune with the intent to cause serious emotional distress or
16

17    with reckless disregard of the probability of causing Plaintiff serious emotional distress.

18        59. As a direct and proximate result of the actions of Defendants. Plaintiff Suffered severe

19    emotional distress. which has.causcd Vlajntifito sustain severer injuries to his person. all to his
20
      damage in an amount to be shown according to proof and within the jurisdiction of this court.
21
          60. As a direct, legal and pmximate result )1the aforesaid tonious conduct of Defendants. all
22
      to Plaintiff's damage. in an amount to be shown according to proof.
23
             Wherefore. Plaintiff' prays for judgment us set forth below.
24

25
                           EIGHTH CAUSE OF ACTION
           WRONGFUL CONSTRUCTIVE TERMINATION IN VIOLATION OF PUBLIC
26                                 POLICY
                                                        11
                                          COMPLAINT FOR      DAMAGES
                Case 3:18-cv-07542-HSG
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-40




      1                       (By Plaintiff Against Defendants Clark and DOES 1-100)

               61 . Piaimilf incorporates herein by reference the allegations contained in the Paragraphs
       3
           above as though fully set forth herein.
       4
              62. Defendants constructively terminated PlaintiIrs employment in violation of various
       S
           fundamental public policies underlying both state and federal laws when they failed to take any

           remedial measures to correct the hostile work environment that Plaintiff had alerted them to.
       7

       8   Defendants violated various laws includinu. but not limited to the Government Code Sections

           12940 et seq.. and California Labor Code Sections 6310. 1102.5. and 131.5.

      10       63. As a proximate result of Defendants' conduct, as alleged above, Plaintiff has been
      11
           harmed in that he has suffered the loss of wages. benefit and additional amounts of money he
      12
           would have received if he had not been constructively terminated from his position with
      13
           Defendant CLARK. in an amount according to proof
      14
               64. As a further proximate result of Defendants' actions as alleged hereinabove. Plaintiff has
      15

      16
           been harmed in that he has suffered extreme and continuing humiliation, mental anguish and

      17   emotional distress. in an amount in excess of the minimum jurisdiction of the Court. according to

      18   proof.

      19       65. The above recited actions of Defendants Were committed with malice, fraud and/or
      20
           oppression and in reckless disregard of the rights of Plaintiff. Plaintiff is informed and believes
      21
           and on that basis alleges that the acts alleged herein taken towards him were carried otn by
      22
           managing agents of Defendants and/or ratification and approval of officer and/or managing
      23
           agents of Defendants in a malicious. oppressive and fraudulent manner in order to harm Plaintiff,
      24

      25
           or With a willful and conscious disregard of Plaintiff's rights. thereby causing him unjust

      26   hardship. humiliation and/or emotional distress. Such conduct was despicable and justifies an
                                                            12
                                               COMPLAINT FOR DAMAGES
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     award of punitive damages against Defendants in an amount sufficient to deter them from
2•
     engaging in such conduct again in the future, in an amount to be shown according to proof.
3
        Wherefore, Plaintiff prays for judgment as set forth below.
4
                                         PRAYER FOR RELIEF
        WHEREFORE, Plaintiff respectfully prays for judgment against Defendants, and each of
6       them, according to proof, as follows:
 7          1. For general and special damages, including lost wages, in a sum in excess of the
 8              minimum jurisdictional, limit of this Court, according to proof at trial;
            2. For reasonable attorney's fees;
9
            3. For costs of suit incurred herein;
10
            4. For exemplary and punitive damages; and
11
            5. For such other and further relief as the Court may deem just and proper.
12

13   DA I ED:' October 17, 2018

14
                                                    THE LAW OFFICES OF JOHN L. BURRIS

15
                                                    By:
16
                                                             JOHN L. URRIS
17                                                             DANTE D. POIN I hR
                                                             LATEEF H. GRAY
18                                                           Attorneys for Plaintiff
                                                             LAWRENCE HALEY
19

20

21

22

23

24

25

26
                                                   13
                                         COMPLAINT FOR. DAMAGES
                                            Case 3:18-cv-07542-HSG
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                            ATTORNEY OR PARTY WITHOUT ATTORNEY (lksso, SIM)Bar turnto4 end cdcfrassj:                                                        FOR COURT USE ONLY
                             JOHN L. BURRIS, SBN: 69888
                             Law Offices of John L. Burris
                             7677 Oakport Street, Suite 1120
                             Oakland, California 94621
                                rer.spnovs NO,: (510) 839-5200                            FAX NO: (510) 839-3882                                     END RSED
                            ATTORNEY FOR (Nam): Lawrence Haley                                                                                    F
                           SUPERIOR COURT OF CAUFORNIA. Mawr, OF     San Francisco                                                              seir s.',`,2°e-41- et.Vana P•
                                   STREET ADDR6SS: 400 McAllister Street
                                   mAtuNc.koowss: 400 McAllister Street                                                                                 OCT      24 2016
                                      ikNO ZP OWE: San Francisco 94102
                                      BRANcHtuum Civil Center Courthouse                                                                      CLERN                 'IL. ...A.)URT
                                                                                                                                        b'Y
                             CASE NAME:                                                                                                           MEREDITH GRIER
                             Lawrence Haley v. Clark Construction Group-California, Inc., et al.                                                                        Debt;iy
                                  CML CASE COVER SHEET                                         Complex Case Designation
                                     Unlimited
                                     (Amount
                                                   1-        1 Umtted
                                                                 (Amount                 r---1Counter          El Joinder                 CA
                                                                                                                                           d Ed Po tEfl 1 8 " 5 7                                  8    51
                                     demanded                    demanded is         Filed with first appearance by defendant
                                                                                                                                          Rime
                                     exceeds $25,000)            $25,000 or less)        (Cal. Rules of Court, rule 3.402)                   OEPT:
                                                                    Items 1-6 below must be completed (see Instructions on page 2).
                           1. Check one box below for the case type that best describes this case:
                               Auto Tort                                           Cont.:                                        Provisionally cantatas Chia Litigation
                                       Auto (22)                                   Fl     B• reath of contracttwarrenty (06) (cal. Rules of Court, rube 3.400.4403)
                              I      1 Uninsured motorist (46)                     1--1 R• ule 3.740 collections (09)                   A• rttrust/Trade regulation (03)
                              Ocher                 (Persona[ injuryfProporty           [- I
                                                                                          Other collectors (09)                         Construction defect (10)
                              DamagefWrongful Death) Tort                                 Insurance coverage (18)                [ I Mass tort (40)
                              El A• sbestos (04)                                   ED Other contract (37)                       El S• ecurities iluaaaan (28)
                              El       P• roduct liability (24)                    Real Property                                El EnvtrortmentalfToric ten (30)
                              El       M• edical malpractice (45)                  ED Eminent domain/Inverse                         1 Insurance coverage claims wising from the
                              11 Other PUPDAM3 (23)                                       condemnation (14)                             above fated provisionally complex case
                                                                                   FT w• rongful ovIcthm (33)                           types (41)
                               Non-Pt/PM/VD (Other) Tort
                                                                                                                                 Enforcement      of Judgment
                                       Business tort/unfair business practice (07) ED Other real property (26)
                                       CMI rights (08)                             Unlawful Detainer                            ED      Enforcement    of judgment (20)
                              El D• efamation (13)                                 0      Commercial (31)                        Miscellaneous Civil Complaint
                              El Fraud (16)                                        U      Residential (32)                       L —I RICO (27)
                                       Irdeflectual property (19)                       riDregs (38)                            I I     Other complaint (not specified above) (42)
                              El P• rofessional negligence (25)                    Judicial Review                              !Miscellaneous CM Petttion
                              I      I Other non-PUPDAND tort (35)                 El A• sset forfeiture (05)                          Partnership and corporate governance (21)
                               Employment                                          El     P• etition re: arbitration award (11)         Other petition (not specified above) (43)
                                       Wrongful termination (38)                          w• ra of mandate (02)
                              1        Other employment (15)                       I 1 Other judicial review (39)
                           2. This case LJ is                  1.11 is not complex under rule 3.400 of the California Rules of Court_ If the case is complex, mark the
                                factors requiring exceptional judicial management
                                a. El       Large number of separately represented parties               d. Fl Large number of witnesses
                                b. Li       Extensive motion practice raising difficult or novel e.                Coordination with related actions pending In one or more courts
                                            issues that will be time-consuming to resolve                          in other counties, states, or countries, or in a federal court
                                c. I     1 Substantial amount of documentary evidence                    f. LJ Substratal postjudgmsnt judicial supervision

                           3.     Remedies sought (check all that apply): all) monetary bri             nonmonetary, declaratory or injunctive relief                            C.              !punitive
                           4.     Number of causes of action (specify): Ten (10)
                           5.     This case I      1 Is 1J 1 is not a class action suit.
                           6.     If there are any known related cases, file and serve a notice of related case. (You may               -015)
                           Date: 10/22/2018
                           John L. Burris
                                                           (TYPE OR KW( NAME)                                                  (SIGNA                  ORkit      E FOR PARTY)
                                                                                                                                                                 W7
                                                                                                        NOTICE
                             • Plaintiff must file this cover sheet with the first paper filed In the action or pr ing (except small claims cases or cases filed
                                under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to f a may result
                                in sanctions.
                             • File this cover sheet in addition to any cover sheet required by local court rule.
                             * If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
                                other parties to the action or proceeding.
                             • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
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                           Farm Aslapbsi tar altnelsto rho                       CML    CASE     COVER      SHEET              Cat Ruts* ci Caurt rules 2.30. 3125 3.4(044011740
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  EXHIBIT B
                Case 4:18-cv-07542-HSG Document 27 Filed 07/18/19 Page 22 of 59


Lawson, Megan M.

From:                           Lawson, Megan M.
Sent:                           Monday, July 15, 2019 3:31 PM
To:                             'john.burris@johnburrislaw.com'; 'Ann M. Kariuki'; 'Adante Pointer'; 'Lateef Gray'
Cc:                             Hermle, Lynne C.; Perry, Jessica R.
Subject:                        RE: Haley v. Clark Construction - Independent Medical Examination



Dear Counsel,

We have not received a response to the below. To avoid having to schedule another meeting, we look forward
to discussing this issue at tomorrow’s meeting.

Thanks,
Megan

From: Lawson, Megan M.
Sent: Friday, July 12, 2019 3:58 PM
To: 'john.burris@johnburrislaw.com' <john.burris@johnburrislaw.com>; 'Ann M. Kariuki' <akariukiesq@gmail.com>;
Adante Pointer <adante.pointer@johnburrislaw.com>; Lateef Gray <lateef.gray@johnburrislaw.com>
Cc: Hermle, Lynne C. <lchermle@orrick.com>; Perry, Jessica R. <jperry@orrick.com>
Subject: Haley v. Clark Construction - Independent Medical Examination

Dear Counsel,

Given Mr. Haley’s diagnosis of PTSD, anxiety, depression, and other psychiatric ailments, Clark plans to seek an
independent medical examination through a psychiatric expert.
The expert, Dr. Mark Kalish, would conduct the exam in San Francisco at a date and time mutually agreed
upon in August. Dr. Kalish has performed psychiatric evaluations for more than 35 years. Dr. Kalish has
treated the full spectrum of patients with psychiatric disorders, including anxiety, depression, manic
depressive or bipolar illness, schizophrenia, and post-traumatic stress disorder. He is board certified by the
American Board of Psychiatry and Neurology in Psychiatry, by the American Board of Forensic Psychiatry in
Forensic Psychiatry, was a Distinguished Fellow with the American Psychiatric Association, served as Examiner
for the American Board of Psychiatry & Neurology and for the American Board of Forensic Psychiatry, was a
Clinical Instructor at the University of California, San Diego and an Assistant Clinical Professor at the University
of California, San Diego.

The examination will include a psychiatric interview as well as psychological testing, which may include the
Minnesota Multiphasic Personality Inventory 2 (the “MMPI-2”), a widely used psychological test which is used
to reach a consistent, comprehensive picture of an individual’s emotional and personality functioning. The
total length of the interview and psychological testing will be up to five hours, excluding breaks, and assuming
a good faith effort by Plaintiff. The interview will involve those of standard practice for an analysis and
                                                          1
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diagnosis: an inquiry into Plaintiff’s current mental status, cognitive and emotional functioning, the
experiences that contributed to his emotional distress, any medical or psychological treatment for symptoms
from the alleged distress, experiences between the end of employment to the time of the evaluation to assess
the contributory stress factors, and his past personal and developmental experiences, educational, dating,
marital and occupational history, litigation and financial history, and past medical and psychiatric history. Per
his usual practice, he will audio record and may transcribe the examination.

Please let us know asap, and no later than Monday morning at 9:00 a.m., if you stipulate to such an exam. If
not we will seek relief from the Court.

Thank you,
Megan

Megan M. Lawson
Attorney at law

Orrick
Silicon Valley
T +1-650-289-7121
megan.lawson@orrick.com




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  EXHIBIT C
                   Case 4:18-cv-07542-HSG Document 27 Filed 07/18/19 Page 25 of 59


Lawson, Megan M.

From:                              Hermle, Lynne C.
Sent:                              Thursday, July 18, 2019 7:13 AM
To:                                Ann M. Kariuki
Cc:                                Lawson, Megan M.; Perry, Jessica R.; Lateef Gray; adante.pointer@johnburrislaw.com
Subject:                           Re: Russell et. al v. Clark; Haley v. Clark: Summary of In-person Meet and Confer


If we do not have agreement today on the IME, including that it will be conducted according to standard terms
consistently accepted by the courts, we will file our motion. If there is something you’d like to discuss about that, please
give us a time today.

Sent from my iPad

On Jul 17, 2019, at 10:15 PM, Ann M. Kariuki <akariukiesq@gmail.com> wrote:

        Hi Ms. Lawson,

        I was unable to get confirmation of a date since we ended so late today.

        I may also have comments on the proposed scope of the IME. I will try to get confirmation tomorrow.

        Ann


        On Wed, Jul 17, 2019, 9:49 PM Lawson, Megan M. <megan.lawson@orrick.com wrote:

           Hi Ann,



           I’m following up on the email below and our conversation today at the end of the depo
           regarding scheduling Mr. Haley’s IME. You stated that you and Mr. Haley were going to discuss
           in the lobby and get back to me tonight confirming one of the dates below.



           Please confirm whether August 6th works for Mr. Haley’s IME. If not, please confirm whether
           the 5th or the 7th works.



           Thanks,

           Megan




                                                             1
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From: Lawson, Megan M.
Sent: Tuesday, July 16, 2019 7:57 PM
To: 'Lateef Gray' <lateef.gray@johnburrislaw.com>; 'Ann M. Kariuki' <akariukiesq@gmail.com>
Cc: Hermle, Lynne C. <lchermle@orrick.com>
Subject: Russell et. al v. Clark; Haley v. Clark: Summary of In-person Meet and Confer




Dear Lateef and Ann,



Thank you for meeting with Lynne and me today in our San Francisco offices. I’ve sent Angel a
link to access our recent production. Please let me know if she does not receive it. Below is a
summary of our meeting today. Given the deadlines in these cases, please confirm the below
by noon tomorrow and please let me know if I missed anything.



  I.   Haley v. Clark Construction
        a.    Independent Mental Examination. Plaintiff agreed to an IME to be performed
              by Dr. Mark Kalish. Dr. Kalish is available to perform the exam in San Francisco
              on August 6, 2019. If that does not work for Mr. Haley, Dr. Kalish may be able to
              move his schedule to perform the exam on August 5th and August 7th. Please
              let us know by the end of the day tomorrow if the 6th will work, or if not, which
              of the other dates do work.



         b.    Deposition of Mrs. Haley. Plaintiff confirmed that Mrs. Haley is available the
               following dates for her deposition: July 22-23, July 25-26 and August 1-2. We
               will depose her on August 2nd and will send the subpoena shortly.



         c.    Depositions of Clark Construction Employees. Plaintiffs have now confirmed
               the following depositions:

                                              i. Mr. Gary on July 26th

                                            ii. Mr. Caringella on July 30th in Irvine. Plaintiff is
                       deciding whether to take the deposition by video.

                                             iii. Ms. Gilman on August 6th. Plaintiffs may decide
                       not to proceed with Ms. Gilman’s deposition. If this is the case, please
                       let us know by July 30.

                                             iv. Mr. Ellers on August 9th

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        d.   Depositions of Mr. Haley’s doctors.

                                           i. Plaintiffs confirmed they are available for Drs.
                     McFarland and Arguelles’ depositions on July 22 and Dr. Smith’s
                     deposition on July 25th.

                                            ii. Ms. Kariuki stated that Mr. Haley only saw Drs.
                     Keegan and Nakamura once when he visited the emergency room for a
                     shot. Clark agreed to consider whether it will proceed with these
                     depositions. We will let you know by August 2.




II.   Russell et al v. Clark Construction
        a.    Plaintiffs’ Depositions. Orrick will send dates regarding its availability for
              Plaintiffs’ rescheduled depositions.



        b.   Depositions of Clark witnesses. Clark will confirm Mr. Gee’s availability to sit
             for his deposition on 7/24 and will provide alternative dates if he is not.
             Plaintiffs confirmed the following depositions:

                                             i. Chris Burke on 7/24 at 10 a.m.

                                             ii. Adam Sullivan on 8/1



        c.   Clark’s Investigation Into the incident involving the dolls. Plaintiffs requested
             a privilege log of documents related to the investigation. Plaintiffs clarified that
             they do not seek communications involving Orrick for the log. Clark will also
             confirm whether any non-privileged responses to Mr. Porter’s April 27, 2019
             email (Bates No. CLARK-R_000005) exist and if so, produce them. If not, Clark
             will include those emails on the privilege log.



        d.   Clark’s Response to Interrogatory No. 21. Clark will amend its response to
             provide the names of the laborers who worked to clean the porta johns.



        e.   Clark’s Responses to Plaintiffs’ Requests for Production. The parties agreed to
             the following in response to Plaintiff’s July 11th meet and confer letter:
                                               3
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                                   i. RFP No. 14 - Clark will produce a list of the
           names of the subcontractors that performed work at the 250 Howard
           construction site, if one exists.

                                ii. RFP No. 15 – Clark will confirm whether there
           is a written agreement with United Site Services and if so, produce such
           agreement.

                                  iii. RFP No. 16 – Plaintiffs will identify for Clark the
           portions of its Safety Manual they would like to review.

                               iv. RFP No. 19 – Clark confirmed that it produced
           the subcontractor meeting minutes in its July 9th production.

                                 v. RFP No. 21 – Clark will produce a document, if
           one exists, containing a list of names of the superintendents at the 250
           Howard Construction site.

                                  vi. RFP No. 24 – Clark will amend its response to
           the RFP.

                              vii. RFP No. 26 – Clark will amend its responses
           with the understanding that by “prohibited conduct,” Plaintiffs are
           seeking documents regarding conduct prohibited by Clark’s EEO policy.

                             viii. RFP No. 27 - Clark will amend its responses
           with the understanding that by “prohibited conduct,” Plaintiffs are
           seeking documents regarding conduct prohibited by Clark’s EEO policy.

                              ix. RFP No. 34 – Clark confirmed that it is not
           aware of documents evidencing the dates and times Clark laborers or
           employees checked the porta johns.

                                 x. RFP No. 35 – Plaintiffs will identify for Clark the
           portions of Clark’s employee handbook they would like to review.

                               xi. RFP No. 39 - Clark will review its interrogatory
           responses regarding Clark’s efforts to maintain a safe environment and
           produce non-privileged documents, if they exist, regarding those efforts.

                               xii. RFP No. 39 – Clark will review and determine
           whether it will amend its response to provide its Workers’
           Compensation Plan documents to Plaintiffs.

                                 xiii. RFP No. 44 – Clark confirmed that it produced
           site schedules in its July 9th production.



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Megan M. Lawson
Attorney at law

Orrick
Silicon Valley
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megan.lawson@orrick.com




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  EXHIBIT D
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                                                                                                   1   JOHN L. BURRIS, Esq., SBN 69888
                                                                                                       ADANTE D. POINTER, Esq., SBN 236229
                                                                                                   2   LATEEF H. GRAY, Esq., SBN 250055
                                                                                                       LAW OFFICES OF JOHN L. BURRIS
                                                                                                   3   Airport Corporate Center
                                                                                                   4   7677 Oakport Street, Suite 1120
                                                                                                       Oakland, California 94621
                                                                                                   5   Telephone: (510) 839-5200
                                                                                                       Facsimile: (510) 839-3882
                                                                                                   6   john.burris@johnburrislaw.com
                                                                                                       adante.pointer@johnburrislaw.com
                                                                                                   7   lateef.gray@johnburrislaw.com
                                                                                                   8
                                                                                                   9
                                                                                                       Attorneys for Plaintiff
                                                                                                  10   LAWRENCE HALEY
The Law Offices of John L. Burris




                                                                                                  11
                                    7677 Oakport Street, Suite 1120




                                                                                                  12                          UNITED STATES DISTRICT COURT
                                                                      Telephone: (510) 839-5200
                                                                      Oakland, California 94621




                                                                                                  13                  FOR THE NORTHERN DISTRICT OF CALIFORNIA

                                                                                                  14
                                                                                                       LAWRENCE HALEY, as an individual,            Case No. 4:18-CV-07542-HSG
                                                                                                  15
                                                                                                                Plaintiff,
                                                                                                  16                                                PLAINTIFF LAWRENCE HALEY’S
                                                                                                       v.                                           SUPPLEMENTAL INITIAL
                                                                                                  17                                                DISCLOSURES (GENERAL ORDER
                                                                                                       CLARK CONSTRUCTION GROUP-                    NO. 71)
                                                                                                  18   CALIFORNIA, et al.,
                                                                                                  19            Defendants.
                                                                                                  20
                                                                                                  21
                                                                                                  22
                                                                                                       TO DEFENDANT AND ITS ATTORNEYS OF RECORD:
                                                                                                  23
                                                                                                                Pursuant to the United States District Court for the Northern District of
                                                                                                  24
                                                                                                  25   California General Order No. 71, Plaintiff LAWRENCE HALEY hereby makes

                                                                                                  26   the following disclosures. Plaintiff makes these disclosures on the basis of

                                                                                                  27
                                                                                                  28
                                                                                                                                                1
                                                                                                             PLAINTIFF LAWRENCE HALEY’S SUPPLEMENTAL INITIAL DISCLOSURES
                                                                                                                                (GENERAL ORDER NO. 71)
                                                                                                        Case 4:18-cv-07542-HSG Document 27 Filed 07/18/19 Page 32 of 59



                                                                                                   1   information currently available to it at this time, following a good faith inquiry

                                                                                                   2   in accordance with the Federal Rules of Civil Procedure.
                                                                                                   3            Plaintiff reserves the right to amend and/or supplement these disclosures
                                                                                                   4
                                                                                                       as any further information become available during the course of discovery and
                                                                                                   5
                                                                                                       to rely upon such information as evidence in this action. Plaintiff makes the
                                                                                                   6
                                                                                                       following disclosures in order to expedite the discovery process and without
                                                                                                   7
                                                                                                   8   waiving the Federal Rules of Evidence, including the protections of the

                                                                                                   9   attorney-client privilege, the work-product doctrine and any other applicable

                                                                                                  10   privilege. Plaintiff expressly reserves its rights under those privileges and
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                                                                                                  11
                                                                                                       protections. By making the disclosures, Plaintiff does not concede that the
                                    7677 Oakport Street, Suite 1120




                                                                                                  12
                                                                      Telephone: (510) 839-5200
                                                                      Oakland, California 94621




                                                                                                       disclosed evidence is relevant or admissible at trial, and reserves the right to
                                                                                                  13
                                                                                                       assert any and all evidentiary objections.
                                                                                                  14
                                                                                                  15
                                                                                                          II.      INFORMATION THAT PLAINTIFF MUST PRODUCE TO
                                                                                                  16               DEFENDANT
                                                                                                  17      a. Identify persons that plaintiff believes to have knowledge of the facts
                                                                                                             concerning the claims or defenses at issue in this lawsuit, and a brief
                                                                                                  18         description of that knowledge.
                                                                                                  19
                                                                                                                WITNESS                     CONTACT                     SUBJECT
                                                                                                  20                                    INFORMATION
                                                                                                                                     Law Offices of John L.      Information or
                                                                                                  21   Plaintiff Lawrence            Burris, 7677 Oakport        knowledge related to
                                                                                                       Haley                         Street, Suite 1120;         Plaintiff’s claims and
                                                                                                  22                                 Oakland, California         damages.
                                                                                                                                     94621
                                                                                                  23                                 (510) 839-5200
                                                                                                                                     Law Offices of John L.      Information or
                                                                                                  24   Emily Haley, Plaintiff’s      Burris, 7677 Oakport        knowledge related to
                                                                                                       wife                          Street, Suite 1120;         Plaintiff’s claims and
                                                                                                  25                                 Oakland, California         damages.
                                                                                                                                     94621
                                                                                                  26                                 (510) 839-5200
                                                                                                  27
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                                                                                                                                                2
                                                                                                           PLAINTIFF LAWRENCE HALEY’S SUPPLEMENTAL INITIAL DISCLOSURES
                                                                                                                              (GENERAL ORDER NO. 71)
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                                                                                                   1                                                                  Information or
                                                                                                       Nery Wilfredo,                 Contacts unknown                knowledge related to
                                                                                                   2   Employed by Bigge                                              Plaintiff’s claims and
                                                                                                                                                                      damages.
                                                                                                   3
                                                                                                                                      Broadway Mechanicals-           Information or
                                                                                                   4   Cisco Estebez,                 Contractors, Inc.               knowledge related to
                                                                                                       Plaintiff’s supervisor         873 81st Avenue                 Plaintiff’s claims.
                                                                                                   5                                  Oakland, California
                                                                                                                                      94621
                                                                                                   6                                  (510) 746-4000
                                                                                                                                      Kaiser Permanente               Information or
                                                                                                   7   Tracy C. Smith, PsyD           Richmond Medical                knowledge related to
                                                                                                                                      Center                          Plaintiff’s claims and
                                                                                                   8                                  901 Nevin Avenue                damages.
                                                                                                                                      Richmond, California
                                                                                                   9                                  94801
                                                                                                                                      (510) 307-1605
                                                                                                  10                                  Kaiser Permanente               Information or
                                                                                                       Molly Patricia Keegan          Richmond Medical                knowledge related to
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                                                                                                  11   MD                             Center                          Plaintiff’s claims and
                                                                                                                                      901 Nevin Avenue                damages.
                                    7677 Oakport Street, Suite 1120




                                                                                                  12                                  Richmond, California
                                                                      Telephone: (510) 839-5200
                                                                      Oakland, California 94621




                                                                                                                                      94801
                                                                                                  13                                  (510) 307-1500
                                                                                                                                      Kaiser Permanente               Information or
                                                                                                  14   Dennis Masaru                  Richmond Medical                knowledge related to
                                                                                                       Nakamura MD                    Center                          Plaintiff’s claims and
                                                                                                  15                                  901 Nevin Avenue                damages.
                                                                                                                                      Richmond, California
                                                                                                  16                                  94801
                                                                                                                                      (510) 307-1500
                                                                                                  17                                  1300 Clay Street #600           Information or
                                                                                                       Dr. Phil McFarland             Oakland, California             knowledge related to
                                                                                                  18                                  94612                           Plaintiff’s claims and
                                                                                                                                      (510) 688-4445                  damages.
                                                                                                  19
                                                                                                  20
                                                                                                  21
                                                                                                          b. State whether the plaintiff has applied for disability benefits and/or
                                                                                                  22         social security disability benefits after the adverse action, whether
                                                                                                             any application has been granted, and the nature of the award, if
                                                                                                  23         any. Identify any document concerning any such application.
                                                                                                  24          Plaintiff applied for and received disability benefits in the amount of around
                                                                                                  25   $2,300.00 biweekly. Plaintiff has produced responsive claim related documents including,
                                                                                                  26
                                                                                                       claim summary and benefit summary received from the California Department of
                                                                                                  27
                                                                                                  28
                                                                                                                                                  3
                                                                                                           PLAINTIFF LAWRENCE HALEY’S SUPPLEMENTAL INITIAL DISCLOSURES
                                                                                                                              (GENERAL ORDER NO. 71)
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                                                                                                   1   Employment Development Department (EDD).

                                                                                                   2          Plaintiff also applied for social security and is awaiting a decision. Plaintiff will
                                                                                                   3   produce all relevant, responsive documents in his possession, custody and/or control.
                                                                                                   4
                                                                                                          Plaintiff has provided, to the best of his knowledge and ability at this time, complete
                                                                                                   5
                                                                                                       and accurate information regarding individuals who may have discoverable information
                                                                                                   6
                                                                                                       that Plaintiff may use to support its claims or defenses. Plaintiff reserves the right to
                                                                                                   7
                                                                                                   8   supplement or delete from this list of individuals, as more information is obtained the

                                                                                                   9   through discovery process.

                                                                                                  10
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                                                                                                       Executed on March 7, 2019 at Oakland, California.
                                                                                                  11
                                    7677 Oakport Street, Suite 1120




                                                                                                  12
                                                                      Telephone: (510) 839-5200
                                                                      Oakland, California 94621




                                                                                                  13                                                 LAW OFFICES OF JOHN L. BURRIS

                                                                                                  14                                                    /s/Lateef H. Gray
                                                                                                  15                                                    LATEEF H. GRAY

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                                                                                                                                                    4
                                                                                                           PLAINTIFF LAWRENCE HALEY’S SUPPLEMENTAL INITIAL DISCLOSURES
                                                                                                                              (GENERAL ORDER NO. 71)
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